               Case 3:18-cv-06582-WHA Document 90 Filed 01/17/19 Page 1 of 2


           1   KEKER, VAN NEST & PETERS LLP
               ELLIOT R. PETERS - #158708
           2   epeters@keker.com
               LAURIE CARR MIMS - #241584
           3   lmims@keker.com
               STEVEN P. RAGLAND - #221076
           4   sragland@keker.com
               CODY S. HARRIS - #255302
           5   charris@keker.com
               ELIZABETH K. McCLOSKEY - #268184
           6   emccloskey@keker.com
               SEAN M. ARENSON - #310633
           7   sarenson@keker.com
               MAYA PERELMAN - #318554
           8   mperelman@keker.com
               633 Battery Street
           9   San Francisco, CA 94111-1809
               Telephone:     415 391 5400
          10   Facsimile:     415 397 7188

          11   Attorneys for Plaintiff
               GENENTECH, INC.
          12
                                            UNITED STATES DISTRICT COURT
          13
                                           NORTHERN DISTRICT OF CALIFORNIA
          14
                                               SAN FRANCISCO DIVISION
          15
               GENENTECH, INC.,                              Case No. 3:18-cv-06582-WHA
          16
                              Plaintiff,                     [PROPOSED] ORDER GRANTING
          17                                                 PLAINTIFF’S UNOPPOSED
                       v.                                    ADMINISTRATIVE MOTION TO FILE
          18                                                 CONSOLIDATED RULE 12 OPPOSITION
               JHL BIOTECH, INC., XANTHE LAM, an             BRIEF OF NOT MORE THAN 35 PAGES
          19   individual, ALLEN LAM, an individual,
               JAMES QUACH, an individual, RACHO             Dept.:     Courtroom 12 - 19th Floor
          20   JORDANOV, an individual, ROSE LIN, an         Judge:     Hon. William Alsup
               individual, JOHN CHAN, an individual, and
          21   DOES 1-50,                                    Date Filed: October 29, 2018
                                                             Trial Date: None Set
          22                  Defendants.

          23

          24

          25

          26

          27

          28

                  [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPOSED ADMINISTRATIVE MOTION TO FILE
                         CONSOLIDATED RULE 12 OPPOSITION BRIEF OF NOT MORE THAN 35 PAGES
                                             Case No. 3:18-cv-06582-WHA
1316630
                Case 3:18-cv-06582-WHA Document 90 Filed 01/17/19 Page 2 of 2


           1          Plaintiff Genentech, Inc. has filed an unopposed administrative motion to file a

           2   consolidated Fed. R. Civ. P. 12 opposition brief of up to 35 pages in length. Having considered

           3   the motion and declaration in support thereof, the Court finds good cause to grant Genentech’s

           4   request.

           5          Genentech’s Administrative Motion to File Consolidated Rule 12 Opposition Brief of Not

           6   More Than 35 Pages is hereby GRANTED.

           7

           8   IT IS SO ORDERED.

           9

          10    DATED:         January 17      , 2019
                                                                     HON. WILLIAM H. ALSUP
          11                                                         UNITED STATES DISTRICT JUDGE
          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
                                                                1
                   [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPOSED ADMINISTRATIVE MOTION TO FILE
                          CONSOLIDATED RULE 12 OPPOSITION BRIEF OF NOT MORE THAN 35 PAGES
                                              Case No. 3:18-cv-06582-WHA
1316630
